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                                   Exhibit C

                                  Sale Notice
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    SIDLEY AUSTIN LLP                                         SIDLEY AUSTIN LLP
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                                                                            anne.wallice@sidley.com
    Proposed Attorneys for the Debtors
    and Debtors in Possession

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                            Chapter 11

    PROSPECT MEDICAL HOLDINGS, INC., et al., 1                        Case No. 25-80002 (SGJ)

                             Debtors.                                 (Jointly Administered)


                                       NOTICE OF SALE HEARING

             PLEASE TAKE NOTICE OF THE FOLLOWING:

       Beginning on January 11, 2025, the above-captioned debtors and debtors-in-possession
(the “Debtors”), filed voluntary petitions for relief pursuant to chapter 11 of Title 11 of the United
States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the District of Delaware (the “Court”).

        On [], 2025, the Debtors filed a motion [Docket No. []] (the “Sale Motion”), 2 pursuant to
sections 363 and 365 of the Bankruptcy Code and Rules 2002, 6004, and 6006 of the Federal Rules
of Bankruptcy Procedure (“Bankruptcy Rules”), seeking entry of an order (the “Sale Order”)
approving, among other things, the sale of the Assets to a non-profit entity formed to serve the
health care needs of Delaware Country for this purpose (the “Purchaser”), free and clear of all liens,
claims and encumbrances (such transaction, the “Sale Transaction”).


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://omniagentsolutions.com/Prospect. The Debtors’ mailing address is 3824
      Hughes Ave., Culver City, CA 90232.
2
      Capitalized terms used but not defined herein have the meaning ascribed to such terms in the Sale Motion.
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        The Sale Hearing to consider approval of the Sale Transaction, will be held before the
Honorable Stacey G. C. Jernigan, United States Bankruptcy Judge, at the United States Bankruptcy
Court for the Northern District of Texas, at Courtroom 1, 14th Floor, Earle Cabell Federal Building,
1100 Commerce Street, Dallas, Texas 75242-1496 on [], 2025, at []:00 [a./p.]m (prevailing
Central Time), or at such other time thereafter as counsel may be heard. The Sale Hearing may
be adjourned by the Debtors, from time to time without further notice to creditors or parties in
interest other than by announcement of the adjournment in open court on the date scheduled for
the Sale Hearing or by including such adjournment on any agenda filed with the Court or by the
filing of a notice with the Court.

        Objections to approval of the Sale Transaction must be in writing, state the basis of such
objection with specificity, and be filed with the Court and served before 4:00 p.m. (prevailing
Central Time) on [], 2025 on the following:

       (a) proposed counsel to the Debtors, Sidley Austin LLP, 787 7th Ave, New York, New
           York 10019 (Attn: William E. Curtin (wcurtin@sidley.com), Anne G. Wallice
           (anne.wallice@sidley.com)         and         Sean        M.        Nuernberger
           (sean.nuernberger@sidley.com));

       (b) the Office of the United States Trustee for the Northern District of Texas;

       (c) counsel to any statutory committee that has been appointed in the chapter 11 cases;

       (d) the Attorney General’s office for the Commonwealth of Pennsylvania;

       (e) the Commonwealth of Pennsylvania; and

       (f) counsel to the Purchaser, Stradley Ronon Stevens & Young, LLP, 2005 Market Street,
           Suite 2600, Philadelphia, PA 19103 (Attn: William Sasso (WSasso@stradley.com),
           Thomas Xi (TIX@stradley.com) and Julie Murphy (Jmmurphy@stradley.com)).

    UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE
WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED
WITHOUT FURTHER HEARING AND NOTICE.

        This sale notice (this “Notice”) is subject to the fuller terms and conditions of the Sale
Motion and Order, with such Order controlling in the event of any conflict. The Debtors encourage
all parties-in-interest to review such documents in their entirety. Parties interested in receiving
more information regarding the sale of the Assets may make a written request (e-mail to be
sufficient) to Houlihan Lokey Capital Inc. (Andrew Turnbull (ATurnbull@HL.com) and Daniel
Martin (DMartin@HL.com)). Parties interested in receiving copies of any related document,
including the Sale Motion, may make a written request (e-mail to be sufficient) to Omni Agent
Solutions (“Omni”), the Debtors’ claims and noticing agent, at ProspectInquiries@
OmniAgnt.com. In addition, copies of the Sale Motion and this Notice are on file with the Clerk
of Court, 1100 Commerce Street, 1254, Dallas, Texas 75242, and are available on Omni’s website
free of charge at https://omniagentsolutions.com/Prospect.
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Dated: [], 2025
Dallas, Texas                          /s/ [DRAFT]
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                                       Rakhee V. Patel (00797213)
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                                       and

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                                       Proposed Attorneys to the Debtors
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